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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 JEROME BROUSSARD,                              * CIVIL ACTION
                                                *
                Plaintiff                       * NO.
v.                                              *
                                                * SECTION

LOYOLA UNIVERSITY, LOYOLA                       *
UNIVERSITY BOARD OF TRUSTEES,                   *
TRUSTEE CHAIR ROBERT SAVOIE,                    * COMPLAINT AND
Individually and as agent for LOYOLA            * JURY TRIAL DEMAND
UNIVERSITY, MARY ALGERO,                        *
individually and as agent for LOYOLA            *
UNIVERSITY, ROBERT REED,                        *
individually and as agent for LOYOLA            *
UNIVERSITY, NIKOLINA CAMAJ,
                                                *
individually and as agent for LOYOLA
                                                *
UNIVERSITY and ALEXANDRIA
                                                *
KELCH-BRICKNER, individually and as
                                                *
agent for LOYOLA UNIVERSITY,
                                                *
                                                *
                Defendants
                                                *




                                         COMPLAINT


        Plaintiff JEROME BROUSSARD, by his attorney Jeffery Speer, as and for his Complaint,

 respectfully alleges as follows:

                               THE NATURE OF THIS ACTION

         1.    This case arises out of the actions taken and procedures employed by Defendants




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Loyola University (the "University"), Robert Savoie, (“Defendant Savoie”), Mary Alegro

("Defendant Alegro"), Robert Reed ("Defendant Reed"), Alexandria Kelch-Brickner ("Defendant

Kelch-Brickner") and Nikolina Camaj ("Defendant Camaj") concerning allegations made against

Plaintiff, a male 2L Law student at Loyola, as a result of false allegations of non consensual sexual

contact with a non-student civilian who Jerome Broussard had broken off a relationship with several

months earlier.

          2.      In addition to the damages sustained by Jerome Broussard, including his inability

  to continue his education at Loyola and a permanent notation of a finding of sexual assault on

  his educational records, Jerome Broussard has sustained tremendous damages to his future

  education and career prospects as a result of the University finding Jerome Broussard

  responsible for an offense he did not commit resulting in his suspension from the University.

  Due to the erroneous outcome and resulting sanction of suspension, Jerome Broussard lost

  $90,000 in tuition monies he had paid to the University. Throughout the investigative process,

  Defendants failed to abide by University's own guidelines and regulations and acted in direct

  violation of federal and/or state law.

          3.      A non-exhaustive list of Defendants' wrongful actions include the following: (i)

  Defendants failed to conduct a thorough and impartial investigation; (ii) Defendants failed to

  provide Jerome Broussard proper notice of the charges; (iii) Defendants evidenced a gender

  bias against Jerome Broussard as the male accused of sexual misconduct throughout the

  investigative process; (iv) Defendants failed to conduct a timely investigation and adjudication




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process; (v) Defendants made assessments of credibility and evidentiary weight with respect

to each party and witness without any ascertainable rationale or logic; (vi) Defendants failed

to consider new material evidence presented by Jerome Broussard; (vii) Defendants failed to

provide Jerome Broussard with necessary information prior to his hearing; (viii) Defendants

failed to provide Jerome Broussard with a rationale for their decision; and (ix) Defendants

failed to afford Jerome Broussard the requisite presumption of innocence required by a

preponderance of the evidence standard, all of which demonstrated substantial procedural errors

in violation of Title IX, the Fourteenth Amendment and other federal and/or state laws.




       4.    When Defendants subjected Jerome Broussard to disciplinary action, they did so

in an arbitrary and capricious way, deprived him of due process and discriminated against him

because of his gender. Defendants failed to adhere to Loyola's own guidelines and regulations,

and the guidelines and regulations themselves were inherently discriminatory and insufficient

to protect the rights of male students. The decision reached was discriminatory; given the

evidence (or lack thereof), a discriminatory bias against males and the underlying motive to

protect Loyola's reputation and financial well-being was required for a conclusion of sexual

misconduct to be reached. Jerome Broussard has been greatly damaged by the actions of

Defendants. His education and career prospects have been severely compromised, and the




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significant monies spent on obtaining a college education at Loyola have been squandered.

Jerome Broussard lost

$90,000 paid in tuition. Additionally, as a result of Defendants' actions and inactions, Jerome

Broussard has suffered physical, psychological, emotional and reputational damages, economic

injuries and the loss of educational and career opportunities.

       5.    Jerome Broussard therefore brings this action to obtain relief based on causes of

action for, among other things, violations of Title IX of the Education Amendments of 1972,
                   th
violation of the 14 Amendment Procedural Due Process, breach of contract and other state

law causes of action.

                                      THE PARTIES

       6.    Jerome Broussard is a natural person residing in the State of Louisiana. During the

events described herein, Jerome Broussard was a student at Loyola and resided off of the

University's campus in New Orleans, LouisianaUpon information and belief, Defendant Loyola

University is a private, coeducational university located in New Orleans, Louisiana.


Upon information and belief, Defendant Savoie, is a resident of the State of Louisiana and was

the Chair of the Loyola Board of Trustees at all relevant times herein.

       7.   Upon information and belief, Defendant Alegro is a resident of the State of

        Louisiana and was the Dean of Law at Loyola at all relevant times herein.

       8.    Upon information and belief, Defendant Camaj is a resident of the State of

        Louisiana and was the Title IX Coordinator at Loyola at all relevant times herein.


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       9.    Upon information and belief, Defendant Reed is a resident of the State of Louisiana

and was the Assistant Vice President for Student Affairs at Loyola at all relevant times herein.

       10. Upon information and belief, Defendant Kelch-Brickner is a resident of the State

of Louisiana and was the Investigator of the Office of Student Conduct at Loyola at all relevant

times herein.

                                    JURISDICTION AND VENUE

       11. This Court has federal and supplemental jurisdiction pursuant to 28 U.S.C. § 1331,

28 U.S.C. § 1343 and 28 U.S.C. § 1367 because: (i) the case arises under the laws of the United

States; (ii) the claims brought under Title IX of the Educational Amendments of 1972, 20 U.S.C.

§ 1681 et seq., and 42 U.S.C. § 1983 are civil rights claims; and (iii) the state law claims are so

closely related to the Title IX and 42 U.S.C. § 1983 federal law claims as to form the same case

or controversy under Article III of the U.S. Constitution


       12. This Court has personal jurisdiction over Defendants on the grounds that Defendants

are conducting business within the State of Louisiana.


       13. Venue for this action properly lies in this district pursuant to 28 U.S.C. §1391

because the events or omissions giving rise to the claim occurred in this judicial district.


                FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS


       A. Background: The "April 2011 Dear Colleague Letter" of The Department of
       Education's Office for Civil Rights.


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       14. On April 4, 2011, the Office of Civil Rights ("OCR") in the Department of

 Education ("DOE" or "Ed") sent a "Dear Colleague Letter" to colleges and universities

 (hereinafter referred to as the "April 2011 Dear Colleague Letter"). The "April 2011 Dear

 Colleague Letter" provides a necessary set of background facts to this action.

       15. The "April 2011 Dear Colleague Letter" advised that, in order to comply with Title

IX, colleges and universities must have procedures to promptly investigate and resolve

complaints of sexual misconduct. Most notably, the April 2011, “Dear Colleague Letter"

required schools to adopt a relatively low burden of proof-"more likely than not" in cases

involving sexual misconduct. Several schools, like Harvard Law School, had been using a "clear

and convincing" standard of proof, and some, like Standford University applied the criminal

standard “beyond a reasonable doubt.”

       16. The "April 2011 Dear Colleague Letter" indicated state schools should "minimize

the burden on the complainant, suggesting schools focus more on victim advocacy. Though Due

Process Rights aren’t completely ignored, suggestions include giving both parties the right to

appeal decisions made, amounting to double jeopardy for the accused student. Subsequent to the

publication of the letter and directly as a result of the same, many schools changed their policies

/ procedures on sexual complaints.

       17. The Obama Administration, through the DOE and OCR, treated the 2011 Dear

Colleague Letter as binding on regulated parties for all practical purposes and pressured

colleges and universities to aggressively pursue investigations of sexual assaults on campuses.


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Catherine Lhamon ("Lhamon"), former Assistant Secretary of the DOE in charge of its OCR,

delivered the following directives orders to colleges and universities:

        (a)   In February 2014, Lhamon told college officials attending a conference at the

              University of Virginia that schools needed to make "radical" changes. According

              to the Chronicle of Higher Education, college presidents said afterward that there

              were "crisp marching orders from Washington." "Colleges Are Reminded of

              Federal Eye on Handling of Sexual-Assault Cases," Chronicle of Higher

              Education, February 11, 2014.

        (b)   In June 2014, Lhamon testified at a Senate Hearing that "some schools are still

              failing their students by responding inadequately to sexual assaults on campus.

               Lhamon further told the Senate Committee, "Th[e] [Obama] Administration is

              committed to using all its tools to ensure that all schools comply with Title IX .

              . She also told the Committee: If OCR cannot secure voluntary compliance….

              may initiate an administrative action to terminate and/or refuse to grant federal

              funds or refer the case to the DOJ to file a lawsuit against the school.

        (c)   In July 2014, Lhamon, speaking at a conference on campus sexual assault held at

              Dartmouth College, stated that she was prepared to cut off federal funding to

              schools that violate Title IX and that she would strip federal funding from any

              college found to be non-compliant with the requirements of the Dear Colleague

              Letter. "Do not think it's an empty threat," Lhamon warned.




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              “. . . It means that so far the process has been working." Meredith Clark, "Official

              to colleges: Fix sexual assault or lose funding," July 15, 2014 (available at:

              http://www.msnbc.com/msnbc/campus-sexual-assaultconference-
              dartmouth-

              college #51832).

        (d)    Lhamon was quoted in the Los Angeles Times stating, "We don't treat rape and

               sexual assault as seriously as we should. [There is] a need to push the country

               forward." Savage and Timothy M. Phelps, "How a little-known education office

               has forced far- reaching changes to campus sex assault investigations," Los

               Angeles Times, August 17, 2015.

       18.    To support making the "April 2011 Dear Colleague Letter" binding, the OCR hired

hundreds of more investigators for Title IX enforcement and has since "conducted 435

investigations of colleges for possibly mishandling reports of sexual violence." according to the

Chronicle of Higher Education Title IX Tracker

       19.    The colleges and universities under OCR investigation, as well as those schools

not yet under investigation but which receive federal funding, including Defendant Loyola, are

fearful of being sanctioned by the DOE and/or of potential Title IX lawsuits by the U.S.

Department of Justice ("DOJ"). In April 2014, the White House issued a report entitled "Not

Alone," which included a warning that the DOJ shares authority with OCR for enforcing Title




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IX and may initiate an investigation or compliance review of schools which may include

litigation

        20. To revoke federal funds is a powerful tool because institutions receive billions of

dollars a year from the federal government. Quoting Anne Neal of the American Council of

Trustees and Alumni "There is a certain hysteria in the air on this topic, . . . It's really a surreal

situation, I think……. schools are running so scared of violating the civil rights of alleged

victims that they end up violating the due process rights of defendants instead." "How Campus

Sexual Assaults Came To Command New Attention," NPR, August 12, 2014.


        21. The DOE and OCR have created a significant amount of pressure on colleges and

universities to treat all those accused of sexual misconduct with a presumption of guilt. The

Chronicle of Higher Education noted that "Colleges face increasing pressure from survivors and

the federal government to improve the campus climate." "Presumed Guilty:

College men accused of rape say the scales are tipped against them," Chronicle of Higher

Education, September 1, 2014. In the same article, the Chronicle noted that different standards

were applied to men and women: "Under current interpretations of colleges' legal

responsibilities, if a female student alleges sexual assault by a male student after heavy drinking,

he may be suspended or expelled, even if she appeared to be a willing participant and never said

no. That is because in heterosexual cases, colleges typically see the male student as the one

physically able to initiate sex, and therefore responsible for gaining the woman's consent."




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"Presumed Guilty: College men accused of rape say the scales are tipped against them,"

Chronicle of Higher Education, September 1, 2014.

       22. In response to pressure from OCR, DOJ, and the Obama Administration, Defendant

Loyola, have limited the procedural protections afforded to male students, like Jerome

Broussard, in sexual misconduct cases.

B. Jerome Broussard and M.J. Become Friends and Begin to Engage in Sexual Activity

       23. Jerome Broussard grew up in Lafayette, Louisiana. In high school, he was a
           member of

the Honor Society. He excelled in his studies and had never faced accusations or adjudication

of any misconduct, academic or otherwise.

       24. Jerome Broussard applied and was accepted to Loyola as part of the class of 2018.

He commenced his education at Loyola in August 2015, at the age of forty-two. Jerome

Broussard was a non-traditional student in that he already held several degrees and that he had

been in the workforce for approximately nineteen years.

       25. Jerome Broussard was introduced to non-student, M.J., during the first week April

2016. Several days after being introduced, Jerome Broussard was called by M.J. crying, asking

if he would come pick her up at the “Boomtown” casino. Jerome Broussard agreed, then drove

her to her residence, Once M.J. was securely inside, Jerome Broussard returned home.

       26. On May 14, 2016, Jerome Broussard traveled to Rome, Italy with his law school

class. On the flight over the Atlantic Ocean, M.J. continuously contacted Jerome Broussard




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through the phone messaging app “WhatsApp.” During these conversations M.J. sought help

with purchasing a new car. Although Jerome Broussard was not interested in a romantic

relationship with M.J., she touched on his emotion by conveying struggles as a single mother,

asking for help. Jerome Broussard told M.J. that he would try to help her help herself upon his

return to the states.

        27. On May 30, 2016, Jerome Broussard co-signed a new car lease with M.J. on the

promise that she would always pay the note timely, not let the note be assessed late fees, and get

it refinanced within one year.

        28. Although Jerome Broussard wasn’t interested in a committed relationship, M.J.

persisted and this friendship evolved into a romantic relationship, including consensual sexual

intercourse between M.J. and Jerome Broussard.

        29. Shortly thereafter, M.J. began acting irrational, including becoming intoxicated and

        causing public disturbances. Jerome Broussard stopped the sexual relations with M.J.,

        but in an effort to avoid inflaming M.J. agreed to remain a platonic friend.

        30. By July 17, 2016 and after multiple acts of hysteria occurred, Jerome Broussard

informed M.J. that he no longer wanted to have any interaction with her. Thereafter M.J. begins

a malicious campaign to get Jerome Broussard to change his mind, including emails to Jerome

Broussard promising to make the car payment, along releasing Jerome Broussard from

responsibility of the same by personally financing the loan. She also appeared at his home

unannounced on several occasions. Jerome Broussard tried to keep conversations brief and make




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excuses to leave. This behavior continued unabated and by October 2016, Jerome Broussard

began to stay elsewhere to avoid M.J.

       31. Although M.J. continued to email Jerome Broussard during this time by creating

new email addresses that Jerome Broussard hadn’t already blocked from entering his email

inbox, Jerome Broussard remained cordial but the focus of his correspondence was related to

M.J.’s loan obligation


       32. On December 14, 2016, M.J. called Jerome Broussard at his place of employment

crying hysterically about the fact that Jerome Broussard no longer wanted any type of

relationship with her.   M.J. stated she couldn’t drive and asked Jerome Broussard to sleep off

her alcohol intoxication at his residence. Out of a desire to insure safety for M.J. and the public,

Jerome Broussard agreed on the condition that she would leave before he returned at 08:00 a.m.

       33.    Jerome Broussard arrived home and though M.J. slept off her intoxication, she

       refused to leave, crying hysterically. When Jerome Broussard told M.J. that he would

       call the police to have her removed from his property, M.J. threatened Jerome Broussard,

       stating she would claim that he was physically violent with her and have him arrested.

       Fearful, Jerome Broussard left his home and rented a hotel room in the CBD area of New

       Orleans to remain distanced from M.J. Based on a year of M.J.’s threats this conduct was

       videotaped by Jerome Broussard before leaving his home.

       34. M.J. remained at the residence for three (3) days, refusing to leave. Only when

Jerome Broussard’s landlord and roommate returned home to find M.J. at the house alone and



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inquired about the situation did M.J. decide to leave. Thereafter, out of caution and fear, Jerome

Broussard refused all contact with M.J.



        35.   On February 6, 2017, M.J. called Jerome Broussard’s cellular phone from an

unknown number to offer condolences on the death of a close friend of Jerome Broussard. The

conversation quickly turned to M.J.’s requests that they rekindle some type of relationship.

When Jerome Broussard informed M.J. that he would not discuss their past relationship or any

type of relationship in the future, M.J. proceeded to curse Jerome Broussard, making threats

about his employment and enrollment in law school. While mourning the death of his friend,

Jerome Broussard mistakenly did not take M.J.’s threats seriously and he hung up on the phone.

C.      Jerome Broussard Is Informed Of M.J.’s Allegations Against Him Almost Three
        Months After M.J. Files Her Complaint

        36. Upon information and belief, on or about February 13, 2017, M.J. made a report to

Alexandri Kelch-Brickner, a Title IX Investigator with Loyola Office of Student Conduct

alleging that Jerome Broussard had engaged in nonconsensual sexual activity with her on

October 16, 2016 and had stalked M.J. since that date.

        37. Upon information and belief, on or about March 10, 2017, Defendant Camaj

submitted an Incident Report on behalf of M.J..

        38.   Upon information and belief, on March 10, 2017, M.J. met with Robert Reed,

Assistant Vice President for Student Affairs, and repeated her allegations. Upon information and




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belief, M.J. requested a No-Contact Order be issued between herself and Jerome Broussard. M.J.

further requested to meet with Robert Reed, Director of the Office of Student Conduct, in order

to gain information regarding the conduct process.

       39. Upon information and belief, Defendant Camaj met with M.J. to take her statement

on or about March 14, 2017.

       40. On or about March 21, 2017, Jerome Broussard emailed Defendant Reed to inquire

about whether he would be able to attend summer classes in Vienna with the exchange law

school located in Wein, Austria.

       41. March 22, 2017, a local police detective along with a SWAT team entered Jerome’’s

home. He was given a copy of a search warrant for electronic storage devices which may contain

evidence of a sexual assault against M.J.

       42. Jerome Broussard informed the detective that only electronic files he had of M.J.

were stored in the “cloud.” that the files were video recordings of his asking M.J. to leave his

home and her refusal to do so. Jerome Broussard accessed, the cloud and allowed the police

viewing of the recordings, none of which showed any alleged crime.


       43. Jerome Broussard waived his “Miranda Rights” and he explained to the detective

that he had broken off the relationship with M.J. over eight months previous and described the

events which transpired. He also explained that the instant complaint was falsified. After




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reading emails between M.J. and Jerome Broussard, and viewing the aforesaid videos, the

detective declined to arrest Jerome Broussard on the charge of rape.

       44. On or about March 23, 2017, Defendant Reed answered the March 21st email from

Jerome Broussard and asked to set up a time to meet and discuss class travel to Vienna per

Jerome’s request.

       45. Jerome Broussard met with Defendant Reed at the Dana Center located on Loyola’s

campus on March 27, 2017. Defendant Reed informed Jerome Broussard that because he was

currently on probation he would not qualify for the travel to Vienna over the summer. He also

informed Jerome that there was another complaint filed against him by someone. Jerome

Broussard informed Defendant Reed about M.J.’s alleged criminal complaint, that a cursory

investigation by police found it baseless and malicious in nature. Jerome was adamant that there

was no truth in the complaint made by M.J. both criminally and academically.

       46. After an exhaustive investigation related to the aforesaid criminal complaint, the

        District Attorney, also refused all charges against Jerome Broussard.

       47. Upon information and belief, Alexandria Kelch-Brickner provided M.J. with on and

off- campus support resources and offered to set up a meeting between M.J. and the Office of

Student Conduct ("OSC") to discuss possible participation in the conduct process.

       48. Jerome Broussard received an email from Defendant Reed on May 7, 2017, asking

to meet with Jerome Broussard. Defendant Reed informed Jerome Broussard that M.J. had

requested a “No Contact Order’ against Jerome Broussard. Jerome again informed Defendant



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Reed that there was no basis for the complaint, but he had no intention of having contact with

M.J and, concluded it was the end of the matter.

          49. It was not until one week later, on or about May 15, 2017, that Jerome Broussard

was given the opportunity to speak with anyone, from Loyola regarding further allegations made

by M.J. When Jerome Broussard received the prior email from Defendant Reed, requiring him

to attend a meeting "to discuss his eligibility to travel with the school overseas,” there was no

mention of the charges against him, the violations under consideration, the nature of the

allegations, or who made the allegations, only that a complaint had been filed. Jerome Broussard

remained unaware of any facts necessary to give a statement regarding the charges of sexual

assault, nor was he provided information regarding the reason for the meeting or whether he

could bring evidence or a list of witnesses. The only directive stated in the March 21st email was

that it would be regarding his ability to travel to Vienna for the summer semester with the law

school.


          50. Defendants charged Jerome Broussard with violations of sexual assault before even

speaking to him or obtaining his statement, and before giving Jerome Broussard an opportunity

to present his own facts or witnesses. This is in direct violation of the Title IX mandate and

doesn’t follow the basic scientific method of collecting all evidence before forming a hypothesis.



          51. Defendants interviewed and gathered statements from M.J. on multiple

occasions prior to giving Jerome Broussard notice of the charge against him.


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       52. Jerome Broussard was not called to the meeting until almost eight (8) months after

       the alleged incident, asking him to recall events with credibility much later than M.J.'s

       interview , therefore disadvantaging Jerome from defending himself.

       53. Jerome Broussard attended the meeting with Defendant Reed the next week, May

16, 2017, for a "Procedural Review."

       54. On or about May 16, 2017, Defendant Camaj and Defendant Reed met with Jerome

Broussard and a full ten (10) months after the alleged incident and took his statement. During

the May 16th meeting, Jerome Broussard provided Defendant Reed with evidence, specifically

text messages exchanged between Jerome Broussard and M.J. the day prior to and the day of the

alleged incident. Jerome Broussard also explained that the investigating detective found no basis

to M.J.’s criminal complaint and the D.A.’s office refused to pursue all allegations.

       55. On or about May 21, 2017, Jerome Broussard forwarded additional email messages

from M.J. to Defendant Reed for his review. These contained long threats by

M.J. being sent to all of Jerome Broussard’s known email accounts, and were clear evidence of

M.J.’s nature and malicious motive. The emails from M.J. had time stamps for verification.

       56. Defendant Reed never sent Jerome Broussard a copy of M.J.’s statement for him to

review.

       Defendant Reed never sent Jerome Broussard a copy of his statement for him to review.

       57. On or about June 2, 2017, Jerome Broussard finally received a letter informing him

that he was being charged with violations of (i) Dating Violence, (ii) Sexual Assault, (iii) Sexual



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Battery, and (iv) Stalking in violation of Loyola's Student Code of Conduct Policy (the "Policy").

       58. On or about June 2, 2017, Defendant Reed sent Jerome Broussard a letter stating

he had until June 5th to either resign from the university with a “disciplinary” mark on his

transcript or request a Board of Review hearing for the charges against him and listed (i) Dating

Violence, (ii) Sexual Assault, (iii) Sexual Battery , and (iv) Stalking.


       59. Jerome Broussard consulted with several of his professors who informed him that

if he resigned he would never be readmitted to any law school.

       60.    On or about June 12, 2017, Jerome Broussard made various attempts to convince

Defendant Camaj and Reed of his innocence, sending additional emails, text messages,

screenshots, even allowing access to his Google location whereabouts for the dates that M.J.

claimed that the rape occurred to substantiate his position and innocence. GPS coordinates also

show that on the date that M.J. claimed to have been raped he was at his parents home, along

with M.J. Jerome Broussard informed Defendant Reed and Camaj that his parents would testify

to this fact that there was no time for the alleged rape to have occurred, to no avail.

       61.   On or about June 23, 2017, Jerome Broussard met with Defendant Camaj for the

“Due Process” meeting as entitled under the School Conduct Code and requested any / all

evidence used against him, he is entitled. This request was denied and instead Jerome Broussard

was provided a link to a “Dropbox” file through the email system on campus. All material and

/or possible evidence specifically related to M.J.’s complaint was denied.




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       The aforesaid email link to download the evidence being used against him was non-

       functioning thus Jerome Broussard was unable to download anything. Jerome Broussard

       sent several emails to Defendant Camaj explaining this problem, yet never received any

       items or material listed in the file. Doe was forced defend himself without being provided

       any evidence against him to defend himself.

       62.     On June 27, 2017, Jerome Broussard met with Defendant Camaj to discuss

confidentiality breaches, namely M.J. publically alleging Jerome "raped her.", Jerome Broussard

provided Defendant with a list of names who had confronted him about the "rape charge".

Defendant Camaj defended M.J.'s actions, stating "it was not against the code to talk about

something”, which is in direct violation of the Students Rights provided to Jerome Broussard by

the Office of Student Conduct which in part states that, "A student…….is entitled to procedural

protections under the Code, including the right to receive reasonable protection from retaliation,

intimidation, harassment or malicious prosecution."


       63.    Defendants further violated the Code of Student Conduct against malicious

prosecution. Jerome Broussard raised the likelihood M.J. maliciously created false testimony in

order to have Jerome Broussard expelled from the university and presented evidence showing

that M.J. was still pursuing Jerome Broussard up until the February phone call. The Hearing

Board refused to consider, any evidence submitted by Jerome Broussard.

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          64.     On June 29, 2017, Jerome arrived for the scheduled Hearing and was then

informed by Defendant Camaj that M.J. would only be “present” by phone and he could not ask

her any questions, that all of his statements must be directed at the panel.

          65.   During the hearing there were several instances of evidence showing that M.J.’s

testimony was not truthful, yet M.J.’s lies were ignored on the basis of relevance.

          On or about July 17, 2017, Jerome Broussard received a letter stating that he was

          dismissed from the university, pending appeal, and that he could no longer attend classes

          after the appeal deadline of July 27, 2017.

          70.   Jerome Broussard filed a timely appeal, which was submitted on Friday July 21,

2017, at or around approximately 15:30 hours, when the university would have been completely

empty, yet curiously enough, Jerome Broussard received the answer to the appeal Saturday July

22, 2017, at approximately 10:30 a.m. stating his dismissal was effective July 22, 2017.

          71.    Based on the aforesaid dates and times stated heretofore, Jerome Broussard’s

appeal was not be reviewed by the Board, in violation of Jerome Broussard’s Due Process

Rights.

          72.   Additionally, the Dismissal letter contained additional charges not on the original

letter, and added to the hearing docket after the hearing was complete, in further violation of

Jerome Broussard’s rights stated herein.




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       73.   Moreover, Defendants had accepted new information which was not disclosed to

Jerome Broussard until after the Hearing began in direct violation of Jerome Broussard’s

Constitutional rights.



       The Defendant’s failed to accurately apply the preponderance of the evidence standard

       in assessing the facts as presented, accepting as true the information communicated by

       M.J. in reaching its conclusion although obvious inconsistencies and contradictions exist

       while ignoring Jerome’s evidence.


       74.   Furthermore, in reaching the Decision, the Hearing Board improperly placed the

burden of proof on Jerome Broussard, as the male accused of a sexual violation. Jerome

Broussard entered the hearing being deemed “responsible,” and he would have to clearly prove

his innocence “beyond any reasonable doubt”, in direct contradiction to the preponderance of

evidence standard set forth under Title IX.



       75.   Furthermore, the arbitrary and disproportionate severity of the sanctions as stated

by the Hearing Board was unjustified and baseless. At no time during the n seven (7) month

investigation / adjudication of the allegations was Jerome Broussard deemed a threat to others

at the University, nor was an interim restriction and/or suspension assessed against him.

       76.    The aforesaid Decision and Appeal Process was greatly influenced by the 2011

Dear Colleague Letter and pressures by the OCR related to Federal Funding, all in violation of



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Jerome Broussard’s guaranteed Constitutional Rights.

         77.     On or about July 21, 2017, an appeal hearing was held (the "Appeal Hearing").

However, Jerome Broussard was not informed that an Appeal Hearing had taken place, who was

on the

Appeals Hearing panel, or why Jerome Broussard's Appeal was rejected. On July 22, 2017, a

letter from Defendant Camaj was sent to Jerome Broussard stating Jerome Broussard's appeal

had been denied, confirming Defendants' original Decision. The July 22nd letter stated that

Jerome Broussard had abused M.J. both sexually and physically, referencing the restraining order

against him as the sole basis for the denial of appeal..

         78.    Due to Defendant's actions with regard to all of the allegations and actions stated

heretofore, Jerome Broussard has been diagnosed with Depression and Post Traumatic Stress

Disorder. Jerome Broussard has attended counseling to address the anxiety and depression he

has endured as a result of malicious and unsubstantiated allegations along with unfair, biased

proceedings he faced between March 2017 and July 2017, the effects of which currently

continue.

                                           COUNT I
               (42 U.S.C. § 1983: Denial of Fourteenth Amendment Due Process
                                  (Against Defendant Loyola)

         79.    Jerome Broussard repeats and re-alleges each and every allegation hereinabove as

if fully set forth herein.

         80. The Fourteenth Amendment to the United States Constitution provides that no state




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shall "deprive any person of life, liberty, or property, without due process of law." In this case,

Defendants are state actors subject to the Fourteenth Amendment.

       81.    Section 1983 of Title 42 of the U.S. Code provides in pertinent part:

          Every person who, under color of any statute, ordinance, regulation, custom,
          or usage, of any State or Territory or the District of Columbia, subjects, or
          causes to be subjected, any citizen of the United States or other person within
          the jurisdiction thereof to the deprivation of any rights, privileges, or
          immunities secured by the Constitution and laws, shall be liable to the party
          injured in an action at law, suit in equity, or other proper proceeding for
          redress. . .


       82. A person has a protected liberty interest in his good name, reputation, honor, and

integrity, of which he cannot be deprived without due process.

       83.    On April 4, 2011, the United States, by and through its agent the United States

Department of Education, sent a 19-page "Dear Colleague" letter to colleges and universities all

over the country, stating that "sexual violence" on campus was a form of "sexual harassment

prohibited by Title IX.

       84.    Reversing previous federal policy, the Dear Colleague Letter threatened colleges

with hundreds of millions of dollars in de-funding penalties if they did not immediately begin

investigating and adjudicating allegations of campus sexual assault under detailed procedures

and terms dictated by the federal government.

       85.    For example, and without limitation, as a result of the Dear Colleague Letter and

later statements, actions, and directives issued by the United States, colleges were as of 2016:




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       (i)       Required to investigate and adjudicate campus sexual assault allegations
                 regardless of whether the complainant reported his or her allegations to the police
                 (whereas previous federal policy had permitted colleges to allow law
                 enforcement to handle allegations of sexual assault);

       (ii)      Required to establish a coordinated and centralized investigative and adjudicative
                 procedure according to detailed rules mandated by the federal government and
                 headed by a Title IX coordinator;

       (iii)     Required to protect the anonymity of students accusing another student of sexual
                 assault if the student making the allegations so requests;

       (iv)      Required to apply a preponderance of the evidence standard when adjudicating
                 such allegations (whereas previously colleges frequently applied higher
                 evidentiary standards, such as the clear and convincing evidence standard);

       (v)       Required not to allow cross-examination by the accused student;

       (vi)      Required or strongly encouraged to expel students that the college finds to have
                 engaged in nonconsensual sexual intercourse with another student.

      86.      Since 2011, colleges and universities have consistently reaffirmed and adhered to

the threat of substantial monetary penalties made in the Dear Colleague Letter. For example, in

July 2014, former DOE Assistant Secretary for Civil Rights, Catherine Lhamon, stated that she

would strip federal funding from any college found to be non-compliant with the requirements

of the Dear Colleague Letter. "Do not think it's an empty threat," Lhamon warned.


      87. Upon information and belief, since 2011, Loyola has acted in response to the federal

government's threat that colleges refusing to comply would be found in violation of Title IX and

be subject to crippling monetary penalties. Therefore, Loyola has a pecuniary interest in the

outcome of the adjudication of sexual assault complaints, because it could lose federal money



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if it finds the respondent "Not Responsible." Loyola does not face the same risk of pecuniary loss

if it finds the respondent "Responsible." Therefore, Loyola became a state actor by virtue of the

federal government's coercion to comply with the Title IX investigative and adjudicatory process

mandated by the 2011 Dear Colleague Letter and by subsequent federal actions, statements, and

directives.

      88. The Dear Colleague Letter has resulted in significant action and legal consequences.

Former Assistant Secretary for the Office for Civil Rights Catherine Lhamon recognized that:

"Our release of the 2011 DCL is widely credited with having sparked significant changes at

colleges and universities as they worked to meet Title IX's requirements consistent with the 2011

DCL."

      89.     Speaking at a conference on campus sexual assault held at Dartmouth College in

July 2014, Lhamon also stated that despite the fact it had never been done before, she was

prepared to cut off federal funding to schools that violate Title IX .

      90.     In fact, former Secretary Lhamon admitted: "It's nice when you carry the big stick

of the federal government." Concerning why there is a higher volume of complaints being made

to the OCR, Lhamon stated: "I think there is more public awareness about the issue and also

more confidence from survivors that we will be there for them." http://www.si.com/college-

football/2016/10/20/title-ix-sexual-assault-explained




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      91.   On September 7, 2017 Department of Education Secretary Betsy DeVos vowed to

replace the "failed system" of campus sexual assault enforcement, to ensure fairness for both

victims and the accused. Ms. DeVos stated that "one person denied due process is one too

many."

      92.    The failure of educational institutions to provide fair and impartial policies and

procedures led Ms. DeVos to declare that "the current approach isn't working. Moreover, Ms.

DeVos stated, "It's no wonder so many call these proceedings "kangaroo courts. Washington's

push to require schools to establish these quasi-legal structures to address sexual misconduct

comes up short for far too many students."

      93.   Significantly, Ms. DeVos proclaimed that the "era of 'rule by the letter' is over." The

2011 Dear Colleague Letter has failed students and their institutions. "Every student accused of

sexual misconduct must know that guilt is not predetermined." Most importantly, "any school

that uses a system biased toward finding a student responsible for sexual misconduct also

commits discrimination."

      94.    "Due process is the foundation of any system of justice that seeks a fair outcome.

Due process either protects everyone, or it protects no one," Ms. DeVos stated.

      95.   On September 22, 2017, the OCR withdrew the April 2011 Dear Colleague

Letter and "Questions and Answers on Title IX and Sexual Violence," dated April 29, 2014.

      96.     The OCR noted that the April 2011 Dear Colleague Letter placed "improper

pressure upon universities" which resulted in the establishment of procedures for resolving




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sexual misconduct allegations which "'lack the most basic elements of fairness and due process,

are overwhelmingly stacked against the accused, and are in no way required by Title

IX    law     or    regulation.'"     Id.    (citation    omitted)     (emphasis      added).
See

https://www2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-201709.pdf.

      97.     On the same day, the OCR issued a significant guidance document that prohibits

universities from relying on fixed rules or assumptions that favor complainants over respondents.

      98.    The Guidance also requires that (i) a person free from actual or perceived conflicts

of interest or biases lead sexual misconduct investigations; (ii) training materials or investigative

techniques that "apply sex stereotypes or generalizations may violate Title IX.be avoided" to

ensure a fair and impartial investigation; (iii) all rights and opportunities made available to

complainants must be made available to respondents; (iv) "[d]ecision-making techniques or

approaches that apply sex stereotypes or generalizations may violate Title IX and should be

avoided" to ensure objective and impartial investigation; and (v) those issuing sanctions must

consider the impact of separating a student from his or her education and the sanction should be

proportionate to the violation. See id. However, on October 2, 2017, Loyola issued a statement

to its students, staff, faculty, and administrators. In the statement, Tania Tetlow, Senior VP &

Chief of Staff to the President, along with Defendant Smith, referred to the University's

"concerns" regarding the DOE's "new guidance on campus sexual assault" and announced the

University's commitment to the original 2011 Dear Colleague Letter:




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          “As we talk about our work on campus, it's important to spend a moment
          reflecting on our collective concerns regarding the U.S. Department of
          Education's new guidance on campus sexual assault. As President Fitts made
          clear at Shifting the Paradigm, Loyola remains committed to our current Title IX
          policies and procedures. We are equally committed to the progress that we've
          made together as a result of our response to the 2011 Dear Colleague Letter,
          which addressed the issue of sexual assault on college campuses. As President
          Fitts said at Shifting the Paradigm, "This problem will never again be brushed
          under the rug. Eyes have been permanently opened, and there is nothing that will
          ever change that."

      99.     Loyola's procedures for adjudicating sexual misconduct complaints is precisely the

type of system referenced in DeVos' statement and in the September 22, 2017 Dear Colleague

Letter.

      100.      Accordingly, when Loyola investigated and adjudicated the sexual misconduct

complaints against Jerome Broussard, and imposed a sanction of suspension on Jerome

Broussard upon reaching its conclusions, Loyola was a state actor and was therefore required to

honor the rights and guarantees set forth in the United States Constitution.

      101.      In the course of such investigation and adjudication, Loyola violated Plaintiff's

clearly established rights under the Due Process Clause of the Fourteenth Amendment through

its repeated acts of gender bias and of deprivation of the minimal requirements of procedural

fairness.

      102.      Defendant Loyola deprived Plaintiff of his liberty and property interests without

affording him basic due process, including, but not limited to: his right to a fair adjudication; his

right to be informed of the exact charges against him; his right to be heard by an impartial fact




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finder; his right to question his accuser; his right to challenge the credibility of any adverse

witnesses; and his right to present evidence and witnesses in support of his defense.


       103. In the course of said investigation and adjudication, Defendants flagrantly violated

Jerome Broussard's clearly established rights under the Due Process Clause of the Fourteenth

Amendment through their deprivation of the minimal requirements of procedural rights.

       104.   As a result, Defendant Loyola failed to provide Plaintiff with basic due process
                                                         th
protections that they are required in violation of the 14 Amendment.

       105.    As a result of these due process violations, Plaintiff continues to suffer ongoing

harm, including damages to his reputation and other non-economic and economic damages.




       106. As a direct and proximate result of the above conduct, Plaintiff sustained damages,

including without limitation, emotional distress, loss of educational and career opportunities,

reputational damages, economic injuries and other direct and consequential damages.

       107.    As a result of the foregoing, Plaintiff is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys' fees, expenses, costs, judicial interest

and disbursements.

                                       COUNT II
 (Violation of Title IX of the Education Amendments of 1972 Against All Defendants)

       108.   Jerome Broussard repeats and re-alleges each and every allegation hereinabove as
if




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fully set forth herein.

      109.     Title IX of the Education Amendments of 1972 provides, in relevant part, that:

               No person in the United States shall, on the basis of sex, be
               excluded from participation in, be denied the benefits of, or be
               subjected to discrimination under any education program or
               activity receiving Federal financial assistance.

      110.      Title IX of the Education Amendments of 1972 applies to an entire school or

institution if any part of that school receives federal funds; hence, athletic programs are subject

to Title IX of the Education Amendments of 1972 even though there is very little direct federal

funding of school sports.

      111.      Title IX may be violated by a school's failure to prevent or remedy sexual

harassment or sexual assault or by the imposition of university discipline where gender is a

motivating factor in the decision to discipline. In either case, the statute is enforceable through

an implied private right of action.


      112.     The Obama Administration's DOE promulgated regulations under Title IX that

require a school to "adopt and publish grievance procedures providing for the prompt and

equitable resolution of student . . . complaints alleging any action which would be prohibited by"

Title IX or related egulations.

      113.      The Obama Administration's DOE ostensibly recognized that the procedures

adopted by a school such as Defendant Loyola covered by Title IX must accord due process to

both parties involved, that a school has an obligation under Title IX to make sure that all



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employees involved in the conduct of the procedures have "adequate training as to what conduct

constitutes sexual harassment, which includes "alleged sexual assaults."

      114.       Defendant Loyola failed to conduct an adequate, reliable, and impartial

investigation when it conducted its investigation and hearing into M.J.'s allegations, without

Jerome Broussard's participation. The subsequent investigation and adjudication were further

conducted in a manner depriving Jerome Broussard of adequate notice and material information

necessary to meaningfully participate in the adjudication process. Jerome Broussard was

prevented from receiving evidence submitted against him or given the right to defend himself.

             Furthermore, the Sanction imposed on Jerome Broussard was arbitrarily increased

in severity, without explanation or rationale without a substantive basis.

      115.    Upon information and belief, Defendants were pressured by activist groups that

calling for harsher penalties for respondents in Title IX cases, creating increased scrutiny, undue

pressure and influence resulting in the violation of Jerome Broussard’s Constitutional Rights.



      116. Upon information and belief, all students accused of alleged sexual misconduct and

/ or suspended / expelled from Loyola University for the same have been male.

      117.As a direct and proximate result of the above conduct, Jerome Broussard sustained

tremendous damages, including, without limitation, emotional distress, loss of education, career

opportunities, economic injuries and other direct and consequential damages.

      118.    As a result of the foregoing, Jerome Broussard is entitled to damages in an amount




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to be determined at trial, plus prejudgment interest, attorneys' fees, expenses, costs and

disbursements, and to an injunction enjoining violations of the Title IX in the process of

investigating and adjudicating sexual misconduct complaints.

                                       COUNT III
                 (State Law Breach of Contract against Defendant Loyola)

        119.   Jerome Broussard repeats and re-alleges each and every allegation hereinabove
as if

fully set forth herein.

        120. Defendant Loyola created express and/or implied contracts when Jerome Broussard

accepted an offer of admission to Defendant Loyola and paid the tuition and fees.

     121.         Defendant Loyola breached express and/or implied contracts with Jerome
Broussard.

        122.   Defendant Loyola's policies provide that students are to have a fair and impartial

disciplinary process in which it is the responsibility of the University to show that a violation has

occurred before any sanctions are imposed. Defendant Loyola breached its contract with Jerome

Broussard when it failed to conduct a fair and impartial process, including not holding a hearing

        123.   The U.S. Department of Education, and Office for Civil Rights requires that the

preponderance of the evidence standard be used to evaluate allegations of sexual misconduct.

Though an inadequate standard to protect the procedural rights of accused students

Defendant Loyola violated this provision and failed to correctly administer the standard when




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 it improperly placed the burden of proof on Jerome Broussard to prove that the accusations

 against him were not true and ignored Jerome Broussard’s evidence .




        124. As a direct and proximate result of the above conduct, Jerome Broussard sustained

 tremendous damages, including, without limitation, emotional distress, loss of educational and

 career opportunities, economic injuries and other direct and consequential damages. Thus Jerome

 is entitled to recover damages in an amount to be determined at trial, plus prejudgment interest,

 attorneys' fees, expenses, costs and disbursements.

        125.    Specifically, Defendant Loyola University is accused of the following breaches:


   A.      Breach of the obligation to conduct an appropriate and unbiased investigation;


         126.    Loyola’s sexual misconduct policy does not discuss or establish responsibility

 of any employee or investigator, including the Title IX coordinator and of Student of Affairs.

         127.     Despite the lack of any language regarding impartiality in Loyola’s sexual

misconduct policy, fundamental fairness and the implied covenant of good faith require

Loyola University to conduct appropriate and unbiased investigations into all allegations

including sexual misconduct allegations, which Loyola failed to do.

         128.   Loyola University Code of Conduct expressly states that investigations in

“Title IX cases and in compliance with federal guidelines, investigations and procedural




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matters are to be completed within 60 days from the date of the initial report. This did not

occur in this instance.

                129.      In some instances, the Final Investigative Report indicates a particular

occurrence is “fact” based merely on the allegation made by the complainant, yet the same

standard was not applied in the case of the respondent.


         130.          Loyola University breached the expressed and/or implied contract between

Jerome Broussard and the university by not completing the investigation in the time frame that

 the Code of Conduct states. This Code is written by Defendant Loyola, and was agreed to by

            Jerome Broussard when he was accepted and he paid tuition fees to the University.

B.      Denial of meaningful right to counsel;

        131.     Loyola’s sexual misconduct policy states that Jerome was entitled to a support

advisor and / or the right to select an attorney or legal counsel as his support advisor.

        132.      Loyola violated its own sexual misconduct policy, the promise of fundamental

fairness, the implied covenant of good faith and fair dealing by denying Jerome the right to

counsel throughout the investigation and disciplinary process.




        133.     The Student Handbook provides that “The adviser for either party may confer

privately with that party… but… may not speak on behalf of the complainant or respondent or

otherwise participate in any meeting.”



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            134.       The notion of a student being able to defend himself competently in a Due

 Process Matter replete with emotion is unrealistic, nor could Jerome have been expected to

 prepare and deliver his version of the facts in a coherent and logical manner. There is no

 substitute for effective legal counsel in a forum / venue with causal connection to Jerome

 Broussard’s future livelihood.

Breach
     C.of the obligation to provide Jerome with the specific charges against                           him;


        135.         Loyola University’s sexual misconduct policy requires that notice be provided

 to students accused of sexual assault.

        136.        The notice provided to Doe contained only information that a complaint had

 been filed with allegations of sexual misconduct.

        137.        The notice provided by Loyola University was defective in that it did not fairly

                   inform Doe of all charges which he was facing.

        138.          Loyola University’s inadequate notice of charges against Doe was a breach of

 Doe’s right to be provided with notice of the charges against him, as well as a breach of the

 University’s promise of fundamental fairness and the implied covenant of good faith and fair

 dealing.

        Breach of obligation to provide competent, trained, unbiased investigators,

                                              and decision makers;




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       140.      Loyola’s University’s sexual misconduct policy is devoid of an obligation that

decision makers act without bias, that the implied covenant of good faith and fair dealing and

Loyola University’s promise of fundamental fairness obligated Loyola University to provide

Jerome with unbiased and trained investigators and decision makers are to ensure that the

outcome of the investigation was not predetermined.

       141.       Defandant Reed oversaw all aspects of the investigation into the allegations

against Jerome and made the final decision regarding his sanction, and his / her bias conduct

tainted the investigation from beginning to end.

       142.     This bias is supported by Jerome stated discipline and the overall outcome of said

Investigation by Loyola and their affiliates, this occurred despite the criminal investigator’s

determination M.J.’s allegations were baseless and the D.A. Office’s refusal to prosecute Jerome

on the same allegations. Loyola’s choice to deliver the ultimate consequence, expulsion, was a

product of an atmosphere replete with bias which permeated the entire disciplinary process.

       143.        Upon information and belief, none of the investigators or decision makers

involved in Doe’s case had any training in adjudication, in the law of sexual assault, the weighing

of evidence, the significance of forensic evidence, or in the relevance or irrelevance of particular

evidence in the alleged sexual assault setting. Loyola University thus breached its guarantees of

due process and fundamental fairness, and the implied covenant of good faith and fair dealing

owed to Jerome Broussard.




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   E. Breach of obligation to afford Jerome an opportunity for confrontation and cross
                                        examination;

      144.      Loyola University’s sexual misconduct policy does not provide for any sort of

hearing for students accused of sexual misconduct. After an alleged investigation takes place,

the decision of guilt or innocence and appropriate sanction(s) is left entirely up to the

investigator assigned, or the Title IX coordinator, rather than a panel of decision makers.

      145.   Jerome’s right to confront his accuser and all evidence used by Loyola against him

is a key component of fundamental fairness guaranteed to any accused.

      146.    Jerome’s right to confront Loyola University’s evidence was extremely limited,

as he was never permitted to review the statements of M.J., and Loyola ignored all evidence

submitted by Jerome Broussard. He had no right to cross- examine M.J. or any other relevant

parties, (which there were none).

      F. Breach of obligation that there be sufficient evidence (or any evidence) to
                          support the Title IX Coordinator’s finding.


      147.     Pursuant to Loyola University’s sexual misconduct policy, the board could only

find Jerome responsible for the alleged violation based on the information in the investigatory

file and utilizing the preponderance of the evidence standard yet no meaningful investigation

or weighing of evidence ever took place.

      148.     Loyola University’s promise of fundamental fairness and the implied covenant

of good faith and fair dealing require that Jerome be presumed innocent and Loyola University




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has the burden of proof. The records pertaining to Loyola University’s investigation and

ultimate decision demonstrate that Loyola University breached these obligations.

        G.      Breach of the obligation to provide a meaningful right of appeal.


      149.    Pursuant to Loyola University’s sexual misconduct policy, Jerome had the right

to submit an appeal of the determination and any related sanctions. The presence of procedural

errors, new information is evidence that does not support the determination, therefore the

severity of the sanction imposed on Jerome was inappropriate.

      150.     Upon information and belief, the Appellate Officers who considered Jerome’s

appeal did not have training in adjudication; in law; in the weighing of evidence; or in the

relevance of irrelevance of evidence in the alleged sexual misconduct investigation setting.

      151.     Despite the absence of any relevant training, the appellate officers were able to

conclude that no procedural errors, evidence of bias, relevant new information, or excessive

severity had impacted or would impact the ultimate outcome and sanctions in Jerome’s case.


      152.     Upon information and belief, the Appellate Officers for Sexual Misconduct are

merely a rubber-stamp for the Conduct Board’s decision.

      153.   This “appeal” was illusory, not conducted in good faith and breached the promise

of fundamental fairness and the implied covenant of good faith and fair dealing. Based on the

facts no appeal was ever actually allowed.

         H. Summary



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       154.    All of the foregoing breaches of contract were wrongful, without justification or

excuse, prejudicial, and were part of an effort to achieve a predetermined result in Jerome’s case.

Jerome was disciplined and constructively expelled from Loyola University despite not being

guilty of any misconduct, sexual or otherwise. As a direct and foreseeable result of the said

breaches of contract, Jerome has sustained, and will continue to sustain, substantial injury,

including but not limited to: mental anguish; severe emotional distress; injury to reputation; past

and future economic loss; deprivations of due process; loss of educational opportunities; and loss

of future career prospects.


                                      COUNT IV
               (State Law Estoppel and Reliance against Defendant Loyola)

       155.   Jerome Broussard repeats and re-alleges each and every allegation hereinabove as
if

fully set forth herein.

       156.    Defendant Loyola's various policies constitute representations and promises and

Defendant Loyola should have reasonably expected to induce action or forbearance by Jerome

Broussard based on said policies and/or representations.

       157.    Defendant Loyola expected or should have expected Jerome Broussard to accept

its offer of admission, incur tuition and fees expenses, and choose not to attend other colleges

based on its express and implied promises that Defendant Loyola would not tolerate, and Jerome

Broussard would not suffer, harassment by fellow students, nor deny Jerome Broussard his

procedural rights should he be accused of a violation of Loyola policies as guaranteed by the


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University.

      158.      As described above, the Sexual Assault Policies and Procedures, Student

Handbook, and other official University publications constitute representations and promises that

the University intended to induce reliance, action, or forbearance on the part of Jerome

Broussard.

In reasonable reliance on these promises and representations, Jerome accepted the University’s

offer of admission and incurred tuition and other expenses based on the University’s promise

that it would abide by its implied and express promises, including guarantees of due process and

fundamental fairness, and the implied covenant of good faith and fair dealing which Jerome

reasonably relied upon as implicitly and / or explicitly stated by Loyola.

      160.       Jerome Broussard reasonably believed that if he was found not guilty of the

charges levied against him, he would not be sanctioned.

      161.    Doe maintains the evidence proves that the sexual encounter at issue was entirely

falsified out of malice and all contact between Jerome and M.J. was between consenting adults.

      162.    Based on the foregoing, Defendant Loyola is liable to Jerome Broussard based on

estoppel.

      163.    As a direct and proximate result of the above conduct, Jerome Broussard sustained

tremendous damages, including, without limitation, emotional distress, psychological damages,

loss of educational and athletic opportunities. As a direct and foreseeable result of the

University’s failure to honor its promises and representations, Jerome has sustained and will




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continue to sustain substantial injury, damages, and losses. Jerome’s damages, injuries and losses

include, but are not limited to: injury to reputation, severe emotional distress, past economic loss,

future economic loss, loss of future career opportunities, economic injuries , other direct and

consequential damages, loss of educational and extracurricular opportunities, and deprivation

of due process.

                                           COUNT V
                           Negligent Infliction of Emotional Distress


       167. Jerome Broussard repeats and re-alleges each and every allegation herein above
as if fully set forth herein.

      168.        Loyola owed duties of care to Jerome Broussard, including without

limitation, a duty of reasonable care in conducting the investigation of the allegations against

him in a fair and impartial manner. Loyola breached this duty.

      169.     Such breach by Loyola created an unreasonable risk of causing Jerome Broussard

emotional distress in that Jerome Broussard's academic and disciplinary record is irrevocably and

irreversibly damaged.

      170.        Loyola University failed to perform the duty of care owed to Jerome. As a direct

and proximate result of Defendant’s actions, Jerome Broussard suffered actual harm in that he

became depressed to the point of performance slipping at his employment.

      171.         Plaintiff suffered emotional harm, in addition to other damages.

      172.          Loyola was informed that M.J. had retaliated against Jerome Broussard by

discussing witness statements with others and accusing Jerome Broussard of having "raped" her.


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Despite the knowledge of M.J.'s actions, Loyola failed to protect Jerome Broussard's right to

confidentiality and privacy to as great a degree as is legally possible, as afforded to Loyola

students – including alleged offenders of misconduct - by its Policy. Instead, Defendant Camaj

stated that M.J.'s actions were not necessarily retaliation and that "it was not against the code to

talk about something." Defendant Camaj’s response was in direct violation of the Students

Rights provided to Jerome Broussard by the Office of Student Conduct which stated that, "A

student charged with a violation of the Code of Student Conduct is entitled to procedural

protections under the Code, including the right to receive reasonable protection from retaliation,

intimidation, harassment or malicious prosecution."

      173.      As a direct and foreseeable consequence of Loyola's actions, Jerome Broussard

sustained tremendous damages, including, without limitation, severe emotional distress, loss of

educational and career opportunities, economic injuries, and other direct and consequential

damages.

      174.       The emotional distress was severe enough that it has resulted in illness and/or

mental harm to Jerome Broussard. As a result of Defendants' actions, Jerome Broussard was

diagnosed with Depression and Post Traumatic Stress Disorder.

       175.      Loyola's extreme and outrageous conduct was the cause of Jerome Broussard's
distress.

      176.        Considering that Jerome Broussard's entire academic and future employment




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opportunities would suffer as a result of the adverse decision, Loyola should have recognized

that its conduct involved an unreasonable risk of causing emotional distress and that that distress,

if it were caused, might result in illness or harm.

       177.       Jerome Broussard's distress is reasonable in light of Loyola's conduct.

       178.         As a direct and proximate result of the above conduct, Jerome Broussard

sustained tremendous damages, including, without limitation, emotional distress, psychological

damages, loss of educational opportunities, economic injuries and other direct and consequential

damages.


       Jerome Broussard’s suspension/expulsion from Loyola Law school for alleged sexual

miscondct under Title IX effectively destroys Jerome Broussard’s ability to finish his legal

education anywhere as the bar across the United States require a degree from a law school

accredited by the American Bar Association. Once a student is susupended/ expelled from one

ABA accredited school like Loyola it is effectively impossible to be readmitted to any other

ABA accredited school or to ever be allowed to take the bar examination in any jurisdiction in

the United States




                          COUNT VI GROSS NEGLIGENCE

        179.      Jerome Broussard repeats and re-alleges each and every allegation hereinabove

as if fully set forth herein.



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       180.          As set forth above, Loyola University has engaged in conduct that amounts

to negligence.

       181.         Loyola University’s actions were taken with such disregard for the rights of

Plaintiff that a conscious indifference to consequences is implied in law. Loyola University’s

actions evidence a conscious neglect of duty, a callous indifference to consequences, and such

an entire want of care as would raise a presumption of a conscious indifferences to

consequences.

       182.         Loyola University has acted willfully, intentionally, and recklessly.

       183.         Loyola University was reckless in that it was aware of, but consciously

disregarded, a substantial and unjustifiable risk of injury or damage to Plaintiff. Loyola

University’s disregard of this risk was a gross deviation from the standard of care.

       184.          Loyola University’s gross negligence has caused Plaintiff, in fact and

proximately, to sustain substantial injury, damage, and loss, including, but not limited to: mental

anguish; severe emotional distress; injury to reputation; past and future economic loss;

deprivations of due process; loss of educational and athletic opportunities; and loss of future

career prospects.

                                           COUNT VII
                        Violation of Title IX -Erroneous Outcome


      185.       The erroneous outcome of the hearing and appeal can only be explained by




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gender bias against males in cases involving allegations of sexual assault. This bias is reflected

in the patterns of decision making by the University throughout the entire process.

      186.         Moreover, upon information and belief, in all, or in virtually all, cases of

campus sexual misconduct at Loyola, the accused student is male and the accusing student is

female. The University has created an environment in which it is impossible for a male accused

of sexual assault to receive the due process guaranteed by Title IX. This significant gender-based

statistical disparity demonstrates the existence of discrimination. In fact, the University

impermissibly presumes male students "guilty until proven innocent" based on invidious gender

stereotypes.

      187.         There are at least four causes for this discriminatory environment at the

University. First, acquittal of an accused male student carries the threat that the Department of

Education's Office for Civil Rights could institute an investigation that would result in the

University's loss of federal funding. There could also be a civil suit filed by the female

complainant, a type of suit that garners much more publicity than a suit by the accused and

convicted male student.

      188.        Second, the University officials in charge of or involved in the disciplinary

process are not concerned about justice, individual rights, or their obligations to provide a fair

and equitable procedure in accordance with due process guarantees; rather, they are concerned

with what would be most expedient for them in their professional roles.




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      189.        Third, these officials also focus on what would be most expedient for the

University and, in particular, avoiding publicity that could harm the University's image and

brand, and hinder its efforts to attract tuition-paying students. The safer course for these officials

is to convict all accused male students.

      190.     Fourth, the University officials are susceptible to internal and external pressures,

including efforts by those who wish to change the so-called ''campus rape culture" at the expense

of the individual rights of the accused male students. The University and its officials have plainly

embraced this view, and the misandry it embodies. The resulting bias is obvious in the Sexual

Assault Policies and Procedures.

      191.    The University's concern is not a fair and equitable procedure in accordance with

due process guarantees, but how the school will look to the outside world and the tuitionpaying

students that it hopes to attract.

      192.     The facts of Jerome Broussard’s case led him to experience gender bias and

discriminatory environment.

      193.     Jerome Broussard, based solely on his gender, suffered an erroneous outcome of

the disciplinary process and the appeal. This unlawful discrimination by the University in

violation of Title IX proximately caused Jerome Broussard to sustain substantial injury,

damage, and loss, including, but not limited to: mental anguish; severe emotional distress; injury

to reputation; past and future economic loss; deprivations of due process; loss of educational

opportunities; and loss of future career prospects, all as described herein.




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                                     COUNT VII Violation of Title IX - Deliberate
                              Indifference

      194.      Plaintiff incorporates the above paragraphs as if fully pled.

      195.     On or before July 10, 2017, Dean Alegro, Trustee Chair Robert Savoie, Nikolina

Camaj, Robert Reed, and Alexandria Kelch-Brickner had actual notice of the

University’s misconduct relating to Jerome Broussard’s disciplinary proceeding and the resulting

affirmance on appeal.

      196.     Despite this actual notice of the University's misconduct and the resulting harm

to Jerome, each of these officials named in the preceding paragraph failed and refused to take

any steps to correct the misconduct and resulting harm to Jerome Broussard even though they

had the authority and obligation to institute corrective measures. This failure and refusal can only

be explained by gender bias against males, as set forth above.

      197.       Jerome Broussard, based solely on his gender, and the illegal and/or pressures

placed on Loyola by the Government has suffered and continues to suffer the effects of the

University officials' deliberate indifference. This unlawful discrimination by the University in

violation of Title IX proximately caused Jerome to sustain substantial injury, damage, and loss,

including, but not limited to: mental anguish; severe emotional distress; injury to reputation; past

and future economic loss; deprivations of due process; loss of educational opportunities; and loss

of future career prospects.




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                                  PRAYER FOR RELIEF

  WHEREFORE, for the foregoing reasons, Jerome Broussard demands judgment against

Defendants as follows:

       (i)     on the first cause of action for violation of constitutional due process under
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               U.S.C. § 1983, a judgment against Defendants awarding Jerome Broussard
               damages in an amount to be determined at trial, including, without limitation,
               damages to physical well-being, emotional and psychological damages, damages
               to reputation, past and future economic losses, loss of educational opportunities,
               and loss of future career prospects, plus legal interest from the time of Judicial
               Demand until paid in full, attorneys' fees, expenses, costs and disbursements an
               injunction enjoining violations of the Fourteenth Amendment in the process of
               investigating and adjudicating sexual misconduct complaints;

       (ii)    on the second cause of action for violation of Title IX of the Education
               Amendments of 1972, a judgment against Defendants awarding Jerome
               Broussard damages in an amount to be determined at trial, including, without
               limitation, damages to physical well-being, emotional and psychological
               damages, damages to reputation, past and future economic losses, loss of
               educational opportunities, and loss of future career prospects, plus legal interest
               from the time of Judicial Demand until paid in full , attorneys' fees, expenses,
               costs and disbursements and an injunction against and to an injunction enjoining
               violations of the Title IX in the process of investigating and adjudicating sexual
               misconduct complaints;

       (iii)   on the third cause of action for state law breach of contract, a judgment awarding
               Jerome Broussard damages in an amount to be determined at trial, including,
               without limitation, damages to physical well-being, emotional and psychological
               damages, damages to reputation, past and future economic losses, loss of
               educational opportunities, and loss of future career prospects, plus legal interest
               from the time of Judicial Demand until paid in full, attorneys' fees, expenses,
               costs and disbursements;

       (iv)    on the fourth cause of action for state law breach estoppel and reliance, a
               judgment awarding Jerome Broussard damages in an amount to be determined
               at trial, including, without limitation, damages to physical well-being, emotional
               and psychological damages, damages to reputation, past and future economic


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           losses, loss of educational opportunities, and loss of future career prospects, plus
           legal interest from the time of Judicial Demand until paid in full, attorneys' fees,
           expenses, costs and disbursements;


   (v)     on the fifth cause of action for state law negligent infliction of emotional distress,
           a judgment awarding Jerome Broussard damages in an amount to be determined
           at trial, including, without limitation, damages to physical wellbeing, emotional
           and psychological damages, damages to reputation, past and future economic
           losses, loss of educational and athletic opportunities, and loss of future career
           prospects, plus prejudgment interest, attorneys' fees, expenses, costs and
           disbursements;

   (vi)    on the sixth cause of action for state law gross negligence, a judgment awarding
           Jerome Broussard damages in an amount to be determined at trial, including,
           without limitation, damages to physical well-being, emotional and psychological
           damages, damages to reputation, past and future economic losses, loss of
           educational opportunities, and loss of future career prospects, plus legal interest
           from the time of Judicial Demand until paid in full, attorneys' fees, expenses,
           costs and disbursements;

   (vii)   on the seventh cause of action for violation of Title IX of the Education
           Amendments of 1972, Erroneous Outcome, a judgment awarding Jerome
           Broussard damages in an amount to be determined at trial, including, without
           limitation, damages to physical well-being, emotional and psychological
           damages, damages to reputation, past and future economic losses, loss of
           educational opportunities, and loss of future career prospects, plus legal interest
           from the time of Judicial Demand until paid in full, attorneys' fees, expenses,
           costs and disbursements;

   (viii) on the seventh cause of action for violation of Title IX of the Education
          Amendments of 1972, Deliberate Indifference, a judgment awarding Jerome
          Broussard damages in an amount to be determined at trial, including, without
          limitation, damages to physical well-being, emotional and psychological
          damages, damages to reputation, past and future economic losses, loss of
          educational opportunities, and loss of future career prospects, plus legal interest
          from the time of Judicial Demand until paid in full, attorneys' fees, expenses,
          costs and disbursements; awarding Jerome Broussard such other and further
          relief as the Court deems just, equitable and proper.




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                                      JURY DEMAND

         Plaintiff demands a trial by jury of all issues presented herein that are capable of being
 tried by a jury.



Dated: July 20, 2018

                                               Respectfully Submitted,


                                               /s/Jeffery F. Speer

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